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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


  IN RE GEORGIA SENATE BILL 202
                                                            MASTER CASE
                                                            No.: 1:21-MI-55555-
                                                            JPB
  THE NEW GEORGIA PROJECT, et al.,

                               Plaintiffs,
                                                            Civil Action No.:
                      v.                                    1:21-cv-01229-JPB

  BRAD RAFFENSPERGER, in his official capacity
  as the Georgia Secretary of State, et al.,

                               Defendants,

  REPUBLICAN NATIONAL COMMITTEE, et al.,

                               Intervenor-Defendants.


     PLAINTIFFS’ RULE 5.4 NOTICE OF SERVICE OF DISCOVERY

      Pursuant to LR 5.4 and 26.3(A), NDGa, I hereby certify that on April 15,

2022, I caused Plaintiffs in the above-captioned case to serve Plaintiffs’ First

Interrogatories to State Defendants, Plaintiffs’ First Interrogatories to Spalding

County Defendants, Plaintiffs’ First Interrogatories to Fulton County Defendants,

and Plaintiffs’ First Interrogatories to Brooks County Defendants via email upon

counsel for all parties in this matter.



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     This 19th day of April 2022.

                                    Respectfully submitted,

/s/ Adam M. Sparks                  /s/ Uzoma N. Nkwonta
Halsey G. Knapp, Jr.                Uzoma N. Nkwonta*
Georgia Bar No. 425320              Jacob D. Shelly*
Joyce Gist Lewis                    Jyoti Jasrasaria*
Georgia Bar No. 296261              Tina Meng*
Adam M. Sparks                      Spencer McCandless*
Georgia Bar No. 341578              Marcos Mocine-McQueen*
KREVOLIN & HORST, LLC               ELIAS LAW GROUP LLP
1201 W. Peachtree St., NW           10 G St. NE, Suite 600
One Atlantic Center, Suite 3250     Washington, D.C. 20002
Atlanta, GA 30309                   Telephone: (202) 968-4490
Telephone: (404) 888-9700           unkwonta@elias.law
Facsimile: (404) 888-9577           jshelly@elias.law
hknapp@khlawfirm.com                jjasrasaria@elias.law
jlewis@khlwafirm.com                tmeng@elias.law
sparks@khlawfirm.com                smccandless@elias.law
                                    mmcqueen@elias.law
                                    *Admitted pro hac vice
                                    Counsel for Plaintiffs




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             CERTIFICATE OF COMPLIANCE AND SERVICE

      I hereby certify that I have on this date electronically filed the foregoing

PLAINTIFFS’ RULE 5.4 NOTICE OF SERVICE OF DISCOVERY, which has

been prepared using 14-point Times New Roman Font and otherwise complies

with the formatting and legibility requirements of LR 5.1, NDGa, with the Clerk of

Court using the CM/ECF system, which will automatically send e-mail notification

of such filing to counsel of record.

 Dated: April 19, 2022                      Adam M. Sparks
                                            Counsel for Plaintiffs
